     Case: 1:22-cv-05826 Document #: 15 Filed: 04/05/23 Page 1 of 1 PageID #:53




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CYNTHIA A. LUND,                                     )
                                                     )
               Plaintiff,                            )
                                                     )
       vs.                                           )         Case No.: No. 22 cv 05826
                                                     )         Honorable Virginia M. Kendall
NORTHERN ILLINOIS UNIVERSITY,                        )
                                                     )
               Defendant.                            )

                                   JOINT STATUS REPORT

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties hereby stipulate to voluntary

dismissal of the instant action in its entirety, with prejudice. Each party is to bear its own costs

and attorneys’ fees.



Dated: April 5, 2023                                  AGREED TO BY:


 /s/ Michael Smith                                       /s/ Thomas M. O’Grady___________
        Counsel for Plaintiff                                  Counsel for Defendant

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